                                                                    DISTRICT OF OREGON
                                                                         FILED
                                                                       October 22, 2019
                                                                 Clerk, U.S. Bankruptcy Court



IT IS ORDERED that the application below is approved.




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                                                               TRISH M. BROWN
                                                             U.S. Bankruptcy Judge




                 Case 19-03107-tmb     Doc 14   Filed 10/22/19
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